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      Case 8:21-cr-00041-JVS Document 12 Filed 03/16/21 Page 1 of 5CLERK,
                                                                       Page        ID #:70
                                                                          U.S. DISTRICT COURT


                                                                               03/16/2021

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                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                             BY: ___________________ DEPUTY
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8                                UNITED STATES DISTRICT COURT

9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  October 2020 Grand Jury

11   UNITED STATES OF AMERICA,                       SACR 8:21-cr-00041-JVS

12               Plaintiff,                          I N D I C T M E N T

13               v.                                  [21 U.S.C. §§ 841(a)(1),
                                                     (b)(1)(B)(viii): Possession with
14   EDWARD KIM,                                     Intent to Distribute
                                                     Methamphetamine; 18 U.S.C.
15               Defendant.                          § 1029(a)(3): Possession of
                                                     Fifteen or More Unauthorized
16                                                   Access Devices; 18 U.S.C. §§ 982
                                                     and 1029 and 21 U.S.C. § 853:
17                                                   Criminal Forfeiture]

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19         The Grand Jury charges:
20                                            COUNT ONE
21                      [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii)]
22         On or about November 15, 2020, in Orange County, within the
23   Central District of California, defendant EDWARD KIM knowingly and
24   intentionally possessed with intent to distribute at least five
25   grams, that is, approximately 22.049 grams, of methamphetamine, a
26   Schedule II controlled substance.
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      Case 8:21-cr-00041-JVS Document 12 Filed 03/16/21 Page 2 of 5 Page ID #:71



1                                       COUNT TWO

2                              [18 U.S.C. § 1029(a)(3)]

3         On or about November 15, 2020, in Orange County, within the

4    Central District of California, defendant EDWARD KIM, knowingly and

5    with intent to defraud, possessed at least fifteen unauthorized

6    access devices (as defined in Title 18, United States Code, Sections

7    1029(e)(1) and (3)), namely, approximately 16 debit cards, all

8    belonging to persons other than defendant KIM, with said possession

9    affecting interstate and foreign commerce.

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      Case 8:21-cr-00041-JVS Document 12 Filed 03/16/21 Page 3 of 5 Page ID #:72



1                             FORFEITURE ALLEGATION ONE

2                                  [21 U.S.C. § 853]

3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 21,

6    United States Code, Section 853, in the event of the defendant’s

7    conviction of the offense set forth in Count One of this Indictment.

8         2.    The defendant, if so convicted, shall forfeit to the United

9    States of America the following:

10              (a)   All right, title, and interest in any and all

11   property, real or personal, constituting, or derived from, any

12   proceeds obtained, directly or indirectly, as a result of the

13   offense;

14              (b)   All right, title and interest in any and all property,

15   real or personal, used, or intended to be used, in any manner or

16   part, to commit, or to facilitate the commission of such offense; and

17              (c)   To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   the defendant, if so convicted, shall forfeit substitute property if,

22   by any act or omission of the defendant, the property described in

23   the preceding paragraph, or any portion thereof: (a) cannot be

24   located upon the exercise of due diligence; (b) has been transferred,

25   sold to, or deposited with a third party; (c) has been placed beyond

26   the jurisdiction of the court; (d) has been substantially diminished

27   in value; or (e) has been commingled with other property that cannot

28   be divided without difficulty.

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      Case 8:21-cr-00041-JVS Document 12 Filed 03/16/21 Page 4 of 5 Page ID #:73



1                             FORFEITURE ALLEGATION TWO

2                            [18 U.S.C. §§ 982 and 1029]

3         1.    Pursuant to Rule 32.3(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States will seek

5    forfeiture as part of any sentence, pursuant to Title 18, United

6    States Code, Sections 982(a)(2) and 1029, in the event of the

7    defendant’s conviction of the offense set forth in Count Two of this

8    Indictment.

9         2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   All right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds obtained, directly or indirectly, as a result of the

14   offense;

15              (b)   Any personal property used or intended to be used to

16   commit the offense; and

17              (c)   To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 18, United States Code, Sections 982(b)(1)

22   and 1029(c)(2), the defendant, if so convicted, shall forfeit

23   substitute property, up to the total value of the property described

24   in the preceding paragraph if, as the result of any act or omission

25   of the defendant, the property described in the preceding paragraph,

26   or any portion thereof: (a) cannot be located upon the exercise of

27   due diligence; (b) has been transferred, sold to or deposited with a

28   third party; (c) has been placed beyond the jurisdiction of the

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      Case 8:21-cr-00041-JVS Document 12 Filed 03/16/21 Page 5 of 5 Page ID #:74



1    court; (d) has been substantially diminished in value; or (e) has

2    been commingled with other property that cannot be divided without

3    difficulty.

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5                                                A TRUE BILL
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7                                                       /S/
                                                 Foreperson
8

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